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                   IN THE UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF HAWAII

 UNITED STATES OF AMERICA,     )           CR 17-00101 LEK
                               )
           Plaintiff,          )
                               )
      vs.                      )
                               )
 ANTHONY WILLIAMS,             )
                               )
           Defendant.          )
 _____________________________ )


       ORDER GRANTING THE GOVERNMENT’S APPEAL AND REQUEST TO
  RECONSIDER A PRETRIAL MATTER DETERMINED BY THE MAGISTRATE JUDGE

              On December 18, 2017, the magistrate judge filed his

 Order (1) Denying Defendant’s Motion for Clerk to Issue Blank

 Subpoenas; (2) Granting in Part and Denying in Part Defendant’s

 Motion to Compel; and (3) Denying Defendant’s Motion for Funds to

 Hire a Private Investigator (“12/18/17 Order”).           [Dkt. no. 75.]

 Plaintiff the United States of America (“the Government”) filed

 its Appeal and Request to Reconsider a Pretrial Matter Determined

 by the Magistrate Judge (“Appeal”) on December 29, 2017.             [Dkt.

 no. 79.]     Pro se Defendant Anthony Williams (“Defendant”) filed a

 “Motion in Opposition” to the Appeal on January 11, 2018.1             [Dkt.

 no. 84.]     The Court construes this document as Defendant’s

 memorandum in opposition.       The Appeal came on for hearing on

 January 29, 2018.     The Government’s Appeal is hereby granted for

 the reasons set forth below.



       1
           Defendant also has stand-by counsel, Lars Isaacson, Esq.
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                                 BACKGROUND

             On February 15, 2017, Defendant was indicted for eleven

 counts of wire fraud, in violation of 18 U.S.C. § 1343, and

 nineteen counts of mail fraud, in violation of 18 U.S.C. § 1341.

 [Indictment (dkt. no. 1).]       After the filing of the documents

 relevant to the instant Appeal, a Superseding Indictment was

 filed, charging Defendant with fifteen counts of wire fraud and

 seventeen counts of mail fraud.           [Superseding Indictment, filed

 3/28/18 (dkt. no. 154).]       At all times relevant to the instant

 Appeal, Defendant has been in custody at the Federal Detention

 Center – Honolulu (“FDC Honolulu”).         See, e.g., Minutes of

 arraignment and plea, filed 9/29/17 (dkt. no. 35) (noting that

 Defendant was in custody, granting the motion to detain Defendant

 without bail, and directing stand-by counsel to contact FDC

 Honolulu regarding computer access for Defendant).

             The 12/18/17 Order addressed the following motions:

 1) Defendant’s Motion for Clerk to Issue Defendant Blank

 Subpoenas (“Subpoena Motion”); [filed 11/13/17 (dkt. no. 60);]

 2) Defendant’s Motion to Compel; [filed 11/29/17 (dkt. no. 65);]

 and 3) Defendant’s Motion for Funds to Hire a Private

 Investigator (“Investigator Motion”), [filed 12/1/17 (dkt.




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 no. 68)].2    The Motion to Compel sought an order compelling the

 Government to:

              1.   Provide a pro se phone in order that
                   Mr. Williams will be able to call his standby
                   attorney, witnesses and others in the
                   preparation of his defense for trial and to
                   communicate with the court in order to
                   schedule hearings.

              2.   Provide a printer to print out legal
                   documents necessary for his defense and to
                   have copies of motions to be sent to the
                   proper recipients.

              3.   Update the computer that has been provided so
                   that Mr. Williams can save the documents that
                   he drafts. (Currently Word is provided on
                   the computer but the computer reboots every
                   2 hours and deletes everything that was
                   saved.)

              4.   Provide the Lexis Nexis program on the
                   dedicated computer so that Mr. Williams
                   doesn’t have to leave the computer terminal
                   and go down stairs to wait in line just to do
                   legal research.

              5.   Allow Mr. Williams to have any materials
                   necessary for his legal defense to be
                   obtained from the outside as it is mandated
                   by 28 CFR § 543.11(d)(2).

              6.   Allow Mr. Williams to have visitors whether
                   they be family, friends or business
                   associates as it is outlined in 28 CFR
                   § 540.44(a)(b)(c) and 28 CFR § 540.45(a).

              7.   Allow Mr. Williams to have his own cell in
                   order to be able to stay up late to do law
                   work in an orderly manner.


       2
        Because Defendant     did not file a timely challenge to
 either the denial of the     Subpoena Motion or the denial of the
 Investigator Motion, the     substance of those motions will not be
 addressed in the instant     Order.

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             8.    Compel the [Federal Bureau of Investigation]
                   to answer the written deposition submitted to
                   them on September 29, 2017.

 [Motion to Compel at 1.]       The Government filed its Response to

 Defendant’s Motion to Compel on December 14, 2017.           [Dkt. nos.

 73.]   On December 15, 2017, the magistrate judge held a hearing

 on the Motion to Compel, and a representative of the Federal

 Bureau of Prisons (“BOP”) was present at the hearing.            [Dkt.

 no. 74 (Minutes).]

             Based on the submissions and the representations at the

 hearing, the magistrate judge found that “Defendant has been

 provided access to a computer on which he may review discovery”

 (“Discovery Computer”).      [12/18/17 Order at 2.]       Further, based

 on representations by the BOP, the magistrate judge found:

 “Defendant has direct access to call his stand-by counsel,

 Mr. Isaacson, via the detention center’s telephone system;

 Defendant has access to legal research, including the ability to

 utilize LexisNexis; Defendant may receive legal material from

 outside the facility; and Defendant is allowed visitors pursuant

 to standard BOP policy.”       [Id. at 3.]

             The magistrate judge granted the Motion to Compel

 insofar as he ordered the BOP: 1) to allow Defendant access to a

 printer in conjunction with his use of the Discovery Computer;

 2) to provide Defendant with a compact disc (“CD”) to use in

 conjunction with his use of the Discovery Computer and to perform


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 word processing; and 3) to “make such changes as are necessary to

 the computer provided for discovery review to allow Defendant to

 save his word processing work on the CD.”          [Id. at 2.]    The

 magistrate judge ordered the BOP to “file a detailed

 explanation,” by December 22, 2017, if there were any

 technological reasons why it could not comply with these orders.

 [Id.]     The magistrate judge denied all of Defendant’s other

 requests in the Motion to Compel.3         [Id. at 3.]

              The Government moved for, and the magistrate judge

 granted, a stay of the 12/18/17 Order, in light of the

 Government’s intent to appeal the order.         [Dkt. nos. 76, 77.]

              In the Appeal, the Government argues this Court should

 reverse the 12/18/17 Order and deny Defendant’s Motion to Compel

 in its entirety.     The Government contends that Defendant is

 already being provided with constitutionally adequate access to

 the courts.    Moreover, the Government contends “the technology-

 related accommodations mandated in the Magistrate Judge’s order

 raise serious administrative and security concerns for” FDC

 Honolulu and all BOP facilities.          [Appeal at 5-6, 10.]    In

 support of this contention, the Government filed, inter alia, an

 extensive declaration by an Associate Warden at FDC Honolulu.

 [Appeal, Decl. of Annelizabeth W. Card, PhD.]


       3
        Because Defendant did not file a timely challenge to the
 denial of the other requests in the Motion to Compel, the merits
 of those requests will not be addressed in the instant Order.

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                                  STANDARD

 I.    Appeal of a Magistrate Judge’s Order

             The Government has styled its challenge to the 12/18/17

 Order as an appeal of a nondispositive pretrial matter.

                  Pursuant to 28 U.S.C. § 636(b)(1) and
             Criminal Local Rule 57.3(b), a party may appeal to
             a district judge any pretrial nondispositive
             matter determined by a magistrate judge. Under 28
             U.S.C. § 636(b)(1)(A), a magistrate judge’s order
             may be reversed by the district court only if it
             is “clearly erroneous or contrary to law.” The
             threshold of the “clearly erroneous” test is high.
             United States v. U.S. Gypsum Co., 333 U.S. 364,
             395 (1948) (“A finding is ‘clearly erroneous’ when
             although there is evidence to support it, the
             reviewing court on the entire evidence is left
             with the definite and firm conviction that a
             mistake has been committed.”); see also Thorp v.
             Kepoo, 100 F. Supp. 2d 1258, 1260 (D. Hawai`i
             2000) (the clearly erroneous standard is
             “significantly deferential, requiring a definite
             and firm conviction that a mistake has been
             committed”).

 United States v. Wong, Cr. No. 12-00645 LEK, 2012 WL 5464178, at

 *2 (D. Hawai`i Nov. 8, 2012).       However, Defendant argues that,

 without the accommodations required in the 12/18/17 Order, he

 “can’t properly put forth an adequate rebuttal” to the criminal

 charges against him.      [Mem. in Opp. at 2.4]     Defendant

 effectively argues that, if this Court reverses the 12/18/17

 Order and deprives him of those accommodations, this Court’s



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        Defendant’s memorandum in opposition does not have page
 numbers. All citations to the memorandum in opposition refer to
 the page numbers assigned in the district court’s electronic case
 filing system.

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 ruling may be dispositve of the entire case because the lack of

 such accommodations would prevent him from preparing an adequate

 defense.    This Court therefore construes the portion of the

 12/18/17 Order at issue in the Appeal as findings and

 recommendations on a case-dispositve motion.

 II.   Review of Findings and Recommendations

             A district judge may designate a magistrate judge to

 conduct hearings and to submit proposed findings of fact and

 recommendations for certain dispositve motions in criminal cases,

 including “a motion . . . to dismiss or quash an indictment or

 information made by the defendant[ or] to suppress evidence in a

 criminal case.”     § 636(b)(1)(A)-(B).      Section 636(b)(1) states:

             Within fourteen days after being served with a
             copy, any party may serve and file written
             objections to such proposed findings and
             recommendations as provided by rules of court. A
             judge of the court shall make a de novo
             determination of those portions of the report or
             specified proposed findings or recommendations to
             which objection is made. A judge of the court may
             accept, reject, or modify, in whole or in part,
             the findings or recommendations made by the
             magistrate judge. The judge may also receive
             further evidence or recommit the matter to the
             magistrate judge with instructions.

 The United States Supreme Court has stated that § 636(b)(1)

 “permits the district court to give to the magistrate’s proposed

 findings of fact and recommendations such weight as their merit

 commands and the sound discretion of the judge warrants.”             United

 States v. Raddatz, 447 U.S. 667, 683 (1980) (brackets, citation,


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 and internal quotation marks omitted).         However, drawing an

 analogy to the judicial review of findings by administrative

 agencies, the Supreme Court cautioned that the

             judicial duty to exercise an independent judgment
             does not require or justify disregard of the
             weight which may properly attach to findings [by
             an administrative body] upon hearing and evidence.
             On the contrary, the judicial duty is performed in
             the light of the proceedings already had and may
             be greatly facilitated by the assembling and
             analysis of the facts in the course of the
             legislative determination.

 Id. (quoting St. Joseph Stock Yards Co. v. United States, 298

 U.S. 38, 53 (1936)).

                                 DISCUSSION

             The Ninth Circuit has stated:

             an incarcerated pro se defendant has a
             constitutional right of access to the courts. See
             Bounds v. Smith, 430 U.S. 817, 821, 97 S. Ct.
             1491, 1494, 52 L. Ed. 2d 72 (1977); King [v.
             Atiyeh], 814 F.2d [565,] 568 [(9th Cir. 1987)]
             (“Indigent inmates have a constitutional right to
             meaningful access to the courts.[”]) (quoting
             Bounds).[5] This right requires prison
             authorities to assist inmates in the preparation
             of legal papers by providing access to law
             libraries or assistance from trained legal
             personnel. Bounds, 430 U.S. at 828, 97 S. Ct. at
             1498; Lindquist v. Idaho State Bd. of Corrections,
             776 F.2d 851, 856 (9th Cir. 1985); 28 C.F.R.
             § 543.11(a).




       5
        Bounds was overruled on other grounds by Lewis v. Casey,
 518 U.S. 343, 354 (1996), and King was overruled on other grounds
 by Lacey v. Maricopa County, 693 F.3d 896, 925-28 (9th Cir. 2012)
 (en banc).

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 Eldridge v. Block, 832 F.2d 1132, 1138 (9th Cir. 1987) (some

 citations omitted).      The denial of access to legal materials and

 the courts violates the defendant’s rights under the First and

 Sixth Amendments.     See United States v. Cottrell, 367 F. App’x

 743, 745 (9th Cir. 2010) (citing Lewis v. Casey, 518 U.S. 343,

 384, 116 S. Ct. 2174, 135 L. Ed. 2d 606 (1996) (holding the

 fundamental right of access to the courts means “the opportunity

 to prepare, serve and file whatever pleadings or other documents

 are necessary . . . [in] court proceedings affecting one’s

 personal liberty”); United States v. Sarno, 73 F.3d 1470, 1491

 (9th Cir. 1995) (discussing pro se defendant’s Sixth Amendment

 right of access to materials to prepare a defense)).             However,

 “[t]here is no violation of these rights where the defendant is

 given reasonable access to legal tools and has the opportunity to

 present all of his nonfrivolous claims to the court.”            Id.

 (citing Lewis, 518 U.S. at 352-53, 116 S. Ct. 2174; Sarno, 73

 F.3d at 1491-92).

             Under a de novo review, this Court finds, based on the

 materials submitted in connection with the Motion to Compel and

 the Appeal, as well as this Court’s familiarity with the

 proceedings in this case, that Defendant has more than adequate

 access to: 1) a computer for research and to review discovery;

 and 2) a typewriter and a copier to prepare his legal filings.

 Moreover, he has stand-by counsel to assist him.           This Court


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 therefore concludes that Defendant has access to sufficient

 materials “to prepare, serve and file whatever pleadings or other

 documents are necessary” to prepare his defense.           See Lewis, 518

 U.S. at 384.     Further, this Court concludes that the magistrate

 judge’s orders regarding the printer and the CD are not warranted

 in this case because the penological concerns raised by the

 provision of those materials to Defendant outweigh Defendant’s

 need for a printer and word processing.

             Alternatively, even if this Court applies the standard

 applicable to an appeal of a magistrate judge’s nondispositive

 order, this Court would reverse the contested portions of the

 12/18/17 Order on the ground that they are contrary to the

 applicable law, for the reasons discussed above.

                                  CONCLUSION

             On the basis of the foregoing, the Government’s

 December 29, 2017 Appeal and Request to Reconsider a Pretrial

 Matter Determined by the Magistrate Judge – whether it is

 construed as an appeal from a nondispositive pretrial order or as

 objections to findings and recommendations on a dispositive

 matter – is HEREBY GRANTED.        The portion of the magistrate

 judge’s December 18, 2017 order granting Defendant’s Motion to

 Compel, filed November 29, 2017, is HEREBY REJECTED AND/OR

 REVERSED.    The portions of Defendant’s Motion to Compel that the

 magistrate judge granted are HEREBY DENIED.


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             The instant Order does not affect any other portions of

 the magistrate judge’s December 18, 2017 order.           All portions of

 the magistrate judge’s December 18, 2017 order, except for the

 portion requiring the BOP to provide Defendant with a printer and

 a CD, remain in effect.       In other words, the BOP is not required

 to provide Defendant with either access to a printer or the use

 of a CD.

             IT IS SO ORDERED.

             DATED AT HONOLULU, HAWAII, September 5, 2018.



                                      /s/ Leslie E. Kobayashi
                                     Leslie E. Kobayashi
                                     United States District Judge




 USA VS. ANTHONY WILLIAMS; CR 17-00101(01) LEK; ORDER GRANTING THE
 GOVERNMENT’S APPEAL AND REQUEST TO RECONSIDER A PRETRIAL MATTER
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